               APPEAL NO. 24-4192

                       In the
 United States Court of Appeals
              For the Fourth Circuit


      UNITED STATES OF AMERICA,
                  Plaintiff - Appellee,
                           v.
               JAMES GOULD,
                 Defendant - Appellant.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                AT CHARLESTON



  BRIEF OF APPELLANT JAMES GOULD

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                       STATEMENT OF JURISDICTION

      On May 3, 2022, a federal grand jury sitting in the Southern District of West

Virginia returned a single count indictment charging James Gould with unlawfully

possessing a Remington 12-gauge shotgun in his home, after having been previously

committed to a mental institution, in violation of 18 U.S.C. § 922(g)(4). JA12. Because

that charge constituted an offense against the United States, the district court had

original jurisdiction pursuant to 18 U.S.C. § 3231. This is an appeal from the district

court’s May 5, 2023, memorandum and order denying Gould’s Bruen-based motion to

dismiss, JA117-143, and the final judgment imposed April 1, 2024, JA170, after Gould

pled guilty to the indictment without a plea agreement. JA144, JA145; see also Class v.

United States, 138 S. Ct. 798 (2018). Gould timely filed a notice of appeal on April 1,

2024. JA177. This Court has jurisdiction pursuant to 18 U.S.C. § 3742 and 28 U.S.C.

§ 1291.

                               ISSUE PRESENTED

      Whether permanent disarmament under 18 U.S.C. § 922(g)(4), based upon prior

temporary involuntary commitment to a mental institution, violates the Second

Amendment under New York Rifle & Pistol Ass’n Inc. v. Bruen, 597 U.S. 1, 142 S. Ct. 2111

(2022), such that the district court erred denying Gould’s motion to dismiss.




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                           STATEMENT OF THE CASE

        On February 18, 2022, James Gould possessed a Remington 11-87 12-gauge

shotgun inside his home in Ravenswood, West Virginia. JA12. There is nothing in the

record suggesting that at the time Gould was suffering from any mental disease or

defect, nor was he behaving in any manner to suggest otherwise. There likewise is

nothing in the record indicating that Gould was doing anything with the shotgun to

suggest he was a danger to himself or anyone else. Gould has never been adjudged

mentally incompetent or as a mental defective, and was not subject to any pending

mental institution commitment order at the time he possessed the shotgun.

        Prior to February 18, 2022, according to the indictment, James Gould had been

involuntarily committed to a mental institution by the Circuit Court of Jackson County,

West Virginia on July 30, 2019. JA12. The district court later found that Gould had also

previously been involuntarily committed for mental health examinations 1 on three other

occasions – all occurring over two and a half years or more prior to Gould possessing

the shotgun in his home. JA117.

        On May 3, 2022, based upon his February 16, 2022, conduct, Gould was indicted

for violating 18 U.S.C. § 922(g)(4). JA12. Section 922 provides in pertinent part:




1   W. Va. Code § 27-5-2

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      (g) It shall be unlawful for any person—

                                              ***

             (4) who has been adjudicated as a mental defective or who has been
             committed to a mental institution; . . .

                                           ***

      to ship or transport in interstate or foreign commerce, or possess in or
      affecting commerce, any firearm or ammunition; or to receive any firearm
      or ammunition which has been shipped or transported in interstate or
      foreign commerce.

18 U.S.C. § 924(a) further provides that “(8) Whoever knowingly violates subsection

(d) or (g) of section 922 shall be fined under this title, imprisoned for not more than

15 years, or both.”

      As enacted and amended, the Gun Control Act of 1968 does not define

“adjudicated a mental defective,” or “committed to a mental institution.” The Bureau

of Alcohol, Tobacco and Explosives (“ATF”), however, has through a regulation:

      Adjudicated as a mental defective.

      (a) A determination by a court, board, commission, or other lawful
          authority that a person, as a result of marked subnormal intelligence,
          or mental illness, incompetency, condition, or disease:

          (1) Is a danger to himself or to others; or

          (2) Lacks the mental capacity to contract or manage his own affairs.

      (b) The term shall include –

          (1) A finding of insanity by a court in a criminal case; and


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          (2) Those persons found incompetent to stand trial or found not guilty
              by reason of lack of mental responsibility pursuant to articles 50a
              and 72b of the Uniform Code of Military Justice, 10 U.S.C. 850a,
              876b.

                                        ***

       Committed to a mental institution. A formal commitment of a person to a
       mental institution by a court, board, commission, or other lawful
       authority. The term includes a commitment to a mental institution
       involuntarily. The terms includes commitment for mental defectiveness
       or mental illness. It also includes commitments for other reasons, such as
       for drug use. The term does not include a person in a mental institution
       for observation or a voluntary admission to a mental institution.

27 C.F.R. § 478.11.

       Gould moved to dismiss his indictment on February 17, 2023, arguing under

New York State Rifle & Pistol Association, Inc. v. Bruen, 597 U.S. 1, 142 S. Ct. 2111 (2022),

that § 922(g)(4)’s “committed to a mental institution” clause violated the Second

Amendment. JA13-52. Relying on Bruen’s plain text and history standard, Gould argued

that his keeping and bearing the Remington 12-gauge shotgun inside his own home was

conduct presumptively protected by the Second Amendment, and that the United

States would be unable to rebut that presumption where permanent disarmament by

mental institution commitment laws like § 922(g)(4) were unknown to the founding

generation and did not enjoy a well-established historical tradition in the United States.

       The United States did not dispute that Gould’s shotgun was in common use at

the time, or that his conduct of possessing that shotgun in his home was otherwise

subject to Second Amendment protection. Instead, it asserted that the Second

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Amendment only applied to “law-abiding, responsible citizens.” Based further on

Heller’s dicta suggesting laws disarming the mentally ill are presumptively lawful, the

United States maintained that Second Amendment protections do not extend to citizens

with prior involuntary commitments to mental institutions. JA53; JA57-65. In the

Government’s view, prior, temporary involuntary commitment to a mental institution

made citizens like Gould sufficiently untrustworthy, dangerous, and/or a threat to

public safety to permanently disarm them, even after they had been released and were

no longer subject to mental health treatment or continuing court control.

      As part of its arguments the United States revived a key dynamic under pre-Bruen

intermediate scrutiny, the straw “law-abiding citizen” who distinguished between

“core”/“non-core” Second Amendment rights and the application of diminished

protections to persons who were not. With Bruen’s express rejection of means-end

scrutiny, the United States took the non-law-abiding citizen construct a step further –

insisting instead of the diminished Second Amendment protections which had applied

post-Heller for fourteen years, that citizens like Gould now enjoyed no Second

Amendment protections at all. JA57-60. The United States claimed the Bruen

concurrences supported its position, and strategically made this assertion in relation to

Bruen’s step one as opposed to Bruen’s step two. JA60.

      The United States further asserted even if § 922(g)(4) did manage to regulate

conduct protected by the Second Amendment, it was still consistent with the nation’s


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historical tradition of firearm regulation. JA60-66. The United States briefly cited

instances of English and American justices of the peace seizing property to pay for the

cost of locking up lunatics in support, as well as the historical practice of “generally

disarming people deemed to be dangerous,” including colonists who refused to swear

loyalty oaths. JA65-66.

      The district court heard oral argument on defendant’s motion March 30, 2023.

JA44; JA69-106. Just over a month later, on May 5, 2023, the district court filed a

memorandum and order denying it. JA117-143. In its opinion, the district court initially

equated James Gould to John Hinckley, Jr., under § 922(g)(4). JA120. The district court

then discussed Heller’s dicta about presumptively lawful “longstanding regulatory

measures” disarming the mentally ill. This was relative to the United States’ argument

that Second Amendment protections only apply to “law-abiding, responsible citizens.”

Ultimately, however, the district court acknowledged Fourth Circuit precedent

suggesting reliance on Heller’s dicta might be “a potentially faulty practice.” JA129. The

district court then by-passed making any finding on Bruen’s step one, assuming without

deciding that Second Amendment protections applied to Gould’s conduct. JA131.

      Moving on to Bruen’s step two, the district court declined to decide the precise

historical standard to apply. JA135. The district court opted instead to broadly construe

the problem sought to be addressed by § 922(g)(4)’s mental institution commitment

clause. JA135-140. Rather than find § 922(g)(4)’s “why” was related to or directed at


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the risks of firearm violence by the mentally ill - the district court found the statute was

sufficiently disconnected from actual mental illness to be more broadly intended to

disarm persons considered a danger to themselves or others. This “why” was added to

other generalized Congressional purposes of protecting the community from crime and

preventing suicides. JA136-140 The district court then found the United States carried

its burden of establishing an analogous historical tradition of firearm regulation through

(1) the 1689 English Declaration of Rights, JA141, (2) the Address and Reasons for

Dissent of the Minority of the Convention of the State of Pennsylvania, JA141-142,

and “copious sources discussing the historical basis of laws disarming individuals

deemed ‘dangerous’ to society.” JA142. The Court favorably cited United States v. Nutter,

624 F. Supp. 3d 636 (S.D. W. Va. 2022)(Berger, J.), as another district opinion detailing

historical laws prohibiting dangerous individuals from possessing firearms.2 JA142. The

district court then had little difficulty finding a historical tradition which would remove

Section 922(g)(4) from of the presumptive unconstitutionality of Bruen’s step one.

JA143.




2 Nutter had separately relied on a diverse basket of historical regulations including civil
surety laws; pre-1791 gun registration statutes; statutes requiring attendance at militia
trainings; fire codes for the storage of firearms and gun powder; and statutes disarming
slaves, free blacks, Native Americans, Catholics, and loyalists to sustain a post-Bruen
Second Amendment challenge to 18 U.S.C. § 922(g)(9). Nutter, 624 F. Supp. 3d at 641-
643.

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      On October 12, 2023, Gould entered a guilty plea to his indictment without a

plea agreement - for which adjudication of guilt was deferred until sentencing. JA144-

145. On April 1, 2024, Gould was finally adjudged guilty, and while subject to an

advisory guideline range of 1 to 7 months imprisonment – was sentenced to time served

and a 3-year term of supervised release. JA144-166, 167-173. Gould filed his notice of

appeal the same day. JA174.

                           SUMMARY OF ARGUMENT

      18 U.S.C. § 922(g)(4) is unconstitutional under the “text-and-history standard”

of New York State Rifle & Pistol Association, Inc. v. Bruen. Bruen instructs that “when the

Second Amendment’s plain text covers an individual’s conduct, the Constitution

presumptively protects that conduct,” and the Government may rebut the presumption

of unconstitutionality only by showing that “the regulation is consistent with this

Nation’s historical tradition of firearm regulation.”

       The Second Amendment textually protects the specific conduct of keeping and

bearing arms, which includes possessing a firearm both in the home and outside the

home for purposes of self-defense. Section 922(g)(4) expressly prohibits possession of

a firearm anywhere, which falls directly within that plain text and burdens conduct

protected by the Second Amendment. Gould’s shotgun was not dangerous and unusual,

and was in common use at the time; Gould possessed it inside his home.




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      Section 922(g)(4) does not permanently prohibit firearm possession generally,

but in two specific instances based on possessor characteristics (as opposed to

possessor conduct while possessing or otherwise using a firearm) – where the possessor

has either been adjudged to be a “mental defective,” or where they have been otherwise

committed to a mental institution.

      Section 922(g)(4) is an entirely twentieth century convention which was enacted

as part of the Gun Control Act of 1968. It directly burdens conduct textually identified

in and protected by the Second Amendment. At no time prior to 1968 were intermittent

actual or suspected suffers of mental disease or defects permanently disarmed for their

afflictions or as a result of legal proceedings surrounding them. James Gould has never

been adjudged to be a mental incompetent or mental defective in his entire life, so the

only part of § 922(g)(4) at issue is the “commitment to a mental institution” clause.

There is no evidence that Gould was suffering from a mental disease or defect at the

time of his offense conduct, and he was definitely not subject to any involuntary

commitment order to any type of mental institution at the time he possessed the 12-

guage shotgun.

      Rahimi expressly rejected the Government’s contention that a citizen may be

disarmed just because they are not “responsible.” In Rahimi’s briefing and oral

argument,   the   United    States   treated   “non-responsible”    and    “dangerous”

interchangeably. So when Rahimi rejected the Government’s “not-responsible” theory


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as vague and undefinable, it also rejected the overgeneralized “dangerousness” theory

being advanced here.

      Gould and his conduct are protected by the Second Amendment. Despite his

temporary prior commitments (two of which related to allergic reactions to steroids),

Gould is an American citizen who remains part of “the people” under the Second

Amendment’s plain text. The Second Amendment’s text does not distinguish between

citizens previously committed to mental institutions or other citizens, any more than it

distinguishes between firearm possession inside or outside the home, law-abiding and

non-law-abiding citizens, or responsible and irresponsible citizens. So the Second

Amendment’s protections plainly do extend to Gould and his conduct of possessing

the shotgun inside his home. This necessarily triggers application of Bruen’s step one

and the presumption that § 922(g)(4) violates the Second Amendment.

      Under Bruen, as further applied by Rahimi, this presumption shifted the burden

of proving that § 922(g)(4) is still constitutional to the United States, because it is

consistent with a robust, well-established and representative historical tradition of

firearm regulation in the United States. The Government did not make this showing

below, nor did the district court properly rely upon any well-established and

representative historical tradition on its own advancing the same “why” and “how,” or

comparable purpose and burden that are implicated by § 922(g)(4)’s permanent

disarmament. The overgeneralized label of “dangerousness” is vague, overbroad,


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undefined, and a too easily manipulated metric to guide evaluation of historical sources

depriving citizens of fundamental Second Amendment protections. As a consequence,

even as Bruen’s constitutional standard was applied by Rahimi, § 922(g)(4)’s mental

institution commitment clause still facially violates the Second Amendment. The district

court erred denying Gould’s motion to dismiss. This Court should reverse that ruling

and dismiss Gould’s case without any further remand or, alternately, remand with

instructions to dismiss the indictment.

                                      ARGUMENT

       Citizens previously committed to mental institutions were not
       permanently disarmed at the time of the Founding. Section
       922(g)(4) fails to share the same “why” or “how” as any prospective
       “relevantly similar” historical analog, nor is Section 922(g)(4)’s
       mental institution commitment clause consistent with any well-
       established and representative historical tradition of firearm
       regulation in the United States. Irrespective of Heller’s dicta that
       laws disarming the mentally ill are presumptively valid, Section
       922(g)(4)’s permanent disarmament of citizens previously
       committed to a mental institution violates the Second Amendment.

       A.     Standard of Review

       This Court reviews de novo questions of whether a conviction under 18 U.S.C.

§ 922(g) violates the Second Amendment. United States v. Moore, 666 F.3d 313, 316 (4th

Cir. 2012); United States v. Smoot, 690 F.3d 215, 219 (4th Cir. 2012); see also United States

v. Malloy, 568 F.3d 166, 171 (4th Cir. 2009)(“This court reviews a challenge to the

constitutionality of a federal statute de novo”).



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       B.     18 U.S.C. § 922(g)(4)’s mental institution commitment clause
              violates the individual right to keep and bear arms protected
              by the Second Amendment.

              1.     Before Bruen , lower courts resolved Second
                     Amendment challenges by applying some form
                     of means-ends scrutiny.

       The Second Amendment was ratified December 15, 1791,3 and provides: A “well

regulated Militia, being necessary to the security of a free State, the right of the people

to keep and bear Arms, shall not be infringed.” U.S. Const. amend. II. Every existing

federal firearm regulation in the United States was subsequently enacted during the

Twentieth Century or later.4


3
  See, e.g., U.S. Const. amend. II, historical note; Raffone v. Adams, 468 F.2d 860, 864 n.4
(2d Cir. 1972); National Archives, Milestone Documents, Bill of Rights,
https://www.archives.gov/milestone-documents/bill-of-rights.
4
  See, e.g., Act of June 26, 1934, c. 757, Pub. L. No. 73-474, 48 Stat. 1236, codified at 26
U.S.C. §§ 5801-5872 (National Firearms Act); Act of June 30, 1938, c. 850, 52 Stat.
1250, 1251, codified at 15 U.S.C. §§ 901-909 (Federal Firearms Act); Pub. L. No. 87-
342, 75 Stat. 757 (October 4, 1961)(An Act to Strengthen the Federal Firearms Act -
amended FFA to delete “citizens convicted of crimes of violence,” and replace them
with “citizens having felony convictions”); Pub. L. No. 90-351, 82 Stat. 236, effective
June 19, 1968 (Gun Control Act of 1968 - Title VII, Omnibus Crime Control and Safe
Streets Act of 1968, codified at 18 U.S.C. app. §§ 1201-1203 (now repealed) -
categorically made it unlawful for felons, veterans with dishonorable discharges, mental
incompetents, illegal aliens, and former citizens who had renounced their citizenship to
possess firearms); Pub. L. No. 90-618, 82 Stat. 1213-1236, effective October 22, 1968
(Title II, Omnibus Crime Control and Safe Streets Act of 1968; strengthened 1934
NFA. Added “destructive devices” to definition of firearm; expanded definition of
“machinegun”); 82 Stat. 1227-1236, codified at 18 U.S.C. §§ 922(g) and (h)(Title IV,
Omnibus Crime Control and Safe Streets Act of 1968; categorically prohibited persons
under indictment, felons, fugitives from justice, users or addicts of drugs, and persons
adjudicated mental defectives or committed to a mental institution from transporting

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       Prior to District of Columbia v. Heller, 554 U.S. 570 (2008), challenges to federal

firearm regulations were resolved through rational basis means-end scrutiny, subject to

the now unconstitutional collectivist interpretation of the Second Amendment. See, e.g.,

Love v. Pepersack, 47 F.3d 120, 124 (4th Cir. 1995); United States v. Johnson, 497 F.3d 548,

550 (4th Cir. 1974).

       In Heller, the Supreme Court held the Second Amendment codified a pre-

existing5 “individual right to possess and carry weapons in case of confrontation.”

Heller, 554 U.S. at 592, 624. The Court canvassed “the historical background of the


or receiving firearms in interstate commerce; folded 1938 FFA, as amended, into the
Gun Control Act as part of the OCCSSA of 1968); Pub. L. No. 99-308, 100 Stat. 449,
effective May 19, 1986 (Firearm Owners’ Protection Act; reopened interstate sales of
long guns, legalized ammunition shipments through the US Postal Service, removed
record keeping requirements for non-armor piercing ammunition, banned sale of
machine guns manufactured after enactment date to civilians, added possession of a
firearm as an unlawful act under § 922(g)); Pub. L. No. 103-159, Title I, 107 Stat. 1536,
effective November 30, 1993 (Brady Handgun Violence Prevention Act); Pub. L. No.
103-322, 108 Stat. 1796 (Violent Crime Control and Law Enforcement Act of 1994 –
added Sec. 922(g)(8), persons under domestic violence restraining orders, to the GCA
of 1968); Pub. L. No. 104-208, 110 Stat. 3009, 3009-371 to 372 (1996)(Lautenberg
Amendment to the Gun Control Act of 1968; added Section 922(g)(9) prohibiting
domestic violence misdemeanants from possessing firearms); Pub. L. No. 117-159, 136
Stat. 1313, June 25, 2022 (Bipartisan Safer Communities Act – added separate straw
purchaser offenses to Title 18, as Sec. 933; increased all penalties under Sec. 922(g) to
a maximum 15 years, Sec. 12004, moved firearm possession penalties to Sec. 924(a)(8);
expanded GCA Sec. 922(g)(9) to include current or former dating relationships, Sec.
12005).
5
 See United States v. Cruikshank, 92 U.S. 542, 553 (1875)(The right of “bearing arms for
a lawful purpose” is not a right granted by the Constitution. Neither is it in any manner
dependent upon that instrument for its existence. The Second Amendment simply
declares that it shall not be infringed).

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Second Amendment,” including English history from the 1600s through American

independence, law and practice in the colonial and early-Republic periods, and evidence

of how the Second Amendment was interpreted in the century after its enactment (e.g.,

legal treatises, pre-Civil War case law, post-Civil War legislation, and late-19th-century

commentary). Id. at 592-619. Based on this survey, the Court concluded the Second

Amendment “confers an individual right to keep and bear arms” that is “not limited to

the carrying of arms in a militia.” Id. at 586, 622. The Court therefore struck down

District of Columbia statutes that prohibited the possession of handguns in the home

and required that any other guns in the home be kept inoperable. Id. at 628-34.

      Two years later, in McDonald v. City of Chicago, 561 U.S. 742 (2010), the Court

extended the individual right recognized by Heller to the states through the Fourteenth

Amendment Due Process Clause. In so incorporating Second Amendment protections,

the Court described the right to keep and bear arms as “fundamental to our scheme of

ordered liberty” and “deeply rooted in this Nation’s history and tradition.” Id. at 767.

This right, the Court warned, should not be treated “as a second-class right, subject to

an entirely different body of rules than the other Bill of Rights guarantees.” Id. at 780.

       After Heller, most of the same federal firearm regulations were again sustained

(in the context of Second Amendment challenges to federal criminal statutes), through

intermediate means-end scrutiny subject to the individual rights interpretation of the

Second Amendment. See, e.g., United States v. Hosford, 843 F.3d 161 (4th Cir. 2016); United


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States v. Carter, 750 F.3d 462 (4th Cir. 2014); United States v. Pruess, 703 F.3d 242 (4th Cir.

2012); United States v. Mahin, 668 F.3d 119 (4th Cir. 2012); United States v. Chester, 628

F.3d 673, 676 (4th Cir. 2010)(noting Heller’s explanation of how rational-basis scrutiny

would be inappropriate for analyzing infringements on individual Second Amendment

rights).

       In United States v. Chester, 628 F.3d 673, 680 (4th Cir. 2010), this Court developed

its “two-part approach” for resolving post-Heller Second Amendment claims. The first

step asked “whether the challenged law imposes a burden on conduct falling within the

scope of the Second Amendment’s guarantee,” as it was understood “at the time of

ratification.” Ibid. If it did not, the challenge failed. But if the statute did “burden[]

conduct that was within the scope of the Second Amendment as historically

understood,” the Court then “appl[ied] an appropriate form of means-end scrutiny.”

Ibid. Within this framework, the Court opted to further define Second Amendment

“conduct” not just by what a given citizen was doing with a firearm, but by who they

were. Through this categorial add-on, the Court divided Second Amendment

protections into two types – those that applied to “law-abiding” citizens, and those that

applied to persons who were not. This Court employed strict scrutiny if a challenger’s

claim implicated “the core right” recognized in Heller – “the right of law-abiding,

responsible citizens to use arms in defense of hearth and home.” United States v.

Chapman, 666 F.3d 220, 224, 226 (4th Cir. 2012). Otherwise, a lesser level of protection


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termed as “intermediate scrutiny” applied. Id. at 225-226. See United States v. Hosford, 843

F.3d 161, 168 (4th Cir. 2016). Under this analysis, as opposed to finding that a given

category of “non-law-abiding citizens” enjoyed some lessor form of Second

Amendment protections, the Court frequently would “assume without finding” that

they did and sustain the challenged firearm regulation using intermediate scrutiny. See,

e.g., United States v. Carter, 750 F.3d 462, 464 (4th Cir 2014). By 2014, intermediate

scrutiny had become the accepted standard of review for Second Amendment

challenges to federal criminal firearm laws.

              2.     Bruen replaced means-ends balancing with a test
                     rooted solely in the Second Amendment’s “text
                     and history.”

       Fourteen years after Heller, the Supreme Court in New York State Rifle & Pistol

Association, Inc. v. Bruen, 597 U.S. 1 (2022), disavowed this Court’s intermediate scrutiny

framework by holding that “Heller and McDonald do not support applying means-end

scrutiny in the Second Amendment context.” Id. at 19. In its place, the Supreme Court

adopted a “text-and-history” standard more consistent with Heller’s methodology. Id. at

37. This standard directed courts to begin by asking whether “the Second Amendment’s

plain text covers an individual’s conduct.” Id. at 17. If it did, then “the Constitution

presumptively protects that conduct.” Ibid. Answering this preliminary question in Bruen

was straightforward. At issue was a New York law providing that to obtain a permit to

carry a concealed handgun in public, an applicant had to demonstrate “proper cause,”


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i.e., “a special need for self-protection distinguishable from that of the general

community.” Id. at 8-13. The Supreme Court “ha[d] little difficulty concluding” that

“the Second Amendment protect[ed] [the petitioners’] proposed course of conduct –

carrying handguns publicly for self-defense.” Id. at 31. As the Court explained,

“[n]othing in the Second Amendment’s text draws a home/public distinction with

respect to the right to keep and bear arms.” Ibid. The Second Amendment therefore

“presumptively guarantee[d]” a right to carry firearms in public, and New York’s

“proper cause” requirement, which infringed that right, could pass constitutional

muster only if the state overcame the presumption. Id. at 22-24, 32-33.

       To rebut the presumption of unconstitutionality, Bruen held, “the government

may not simply posit that [a] regulation promotes an important interest.” Bruen, 597

U.S. at 17. “Rather, the government must demonstrate that the regulation is consistent

with this Nation’s historical tradition of firearm regulation. Only if a firearm regulation

is consistent with this Nation’s historical tradition may a court conclude that the

individual’s conduct falls outside the Second Amendment’s unqualified command.”

Ibid. This test requires courts to “consider whether ‘historical precedent’ . . . evinces a

comparable tradition of regulation.” Id. at 26-28. If “no such tradition” exists, then the

statute being challenged is unconstitutional. Id. at 27-28. The Court explained that

“[c]onstitutional rights are enshrined with the scope they were understood to have when

the people adopted them.” Id. at 34-36. For that reason, the relevant “historical


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tradition” for purposes of a federal gun regulation is that which existed in 1791, when

the Second Amendment was ratified. Id. at 36. Courts may look to the tradition of

firearms regulation “before . . . and even after the founding” period, but they should do

so with care. Id. at 26-27. Bruen cautioned, for example, that “[h]istorical evidence that

long predates [1791] may not illuminate the scope of the [Second Amendment] right if

linguistic or legal conventions changed in the intervening years.” Id. at 34-36. Courts

should not “rely on an ancient practice that had become obsolete in England at the time

of the adoption of the Constitution and never was acted upon or accepted in the

colonies.” Ibid.

       Conversely, courts must “guard against giving postenactment history more

weight than it can rightly bear.” Bruen, 597 U.S. at 34-36. Evidence “of how the Second

Amendment was interpreted from immediately after its ratification through the end of

the 19th century represent[s] a critical tool of constitutional interpretation.” Ibid. But

the farther forward in time one goes from 1791, the less probative historical evidence

becomes. Id. at 36-37 (“As we recognized in Heller itself, because post-Civil War

discussions of the right to keep and bear arms took place 75 years after the ratification

of the Second Amendment, they do not provide as much insight into its original

meaning as earlier sources.”). Evidence from “the mid- to late-19th-century” provides

little “insight into the meaning of the Constitution in [1791].” Ibid. Courts should

therefore credit such history to the extent it provides “confirmation” of prior practice


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but should otherwise afford it little weight. Ibid. That is because “post-ratification

adoption or acceptance of laws that are inconsistent with the original meaning of the

constitutional text obviously cannot overcome or alter that text.” Ibid.; see also id. at 66

n.28 (ignoring “20th-century historical evidence” because it is too far removed from

1791). Accord United States v. Rahimi, 602 U.S. ___, *15 (2024)(“Courts must proceed

with care in making comparisons to historic firearms regulations, or else they risk

gaming away an individual right the people expressly preserved for themselves in the

Constitution’s text.”)(Gorsuch, concurring).

       In Bruen the Supreme Court held that because New York could not point to a

robust tradition of regulations similar to the proper-cause requirement, the state’s

statute violated the Second Amendment. Bruen at 37-70. In reaching its conclusion, the

Court did not elaborate a comprehensive scheme for evaluating historical evidence, but

rather staked certain guideposts for lower courts to follow.

       With respect to Bruen’s second prong, deciding “whether a historical regulation

is a proper analogue for a distinctly modern firearm regulation requires a determination

of whether the two regulations are relevantly similar.” Bruen, 597 U.S. at 27-28. Bruen

declined to “provide an exhaustive survey of the features that render regulations

relevantly similar under the Second Amendment,” but it identified “at least two metrics:

how and why the regulations burden a law-abiding citizen’s right to armed self-defense.”

Id. at 27-30. In other words, “whether modern and historical regulations impose a


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comparable burden on the right of armed self-defense [i.e., the ‘how’] and whether that

burden is comparably justified [i.e., the ‘why’] are central considerations when engaging

in an analogical inquiry.” Id. at 29 (emphasis omitted). Accord United States v. Rahimi, 602

U.S. ___, at *6, 14-15. (2024).

                     a.     The Government must identify a “well-
                            established and representative” tradition of
                            comparable regulations.

       Under Bruen and Rahimi, the “comparable tradition of regulation” must still be

widespread and robust. To carry its burden, the Government must show that the

historical tradition on which it relies is “well-established and representative .” Bruen,

597 U.S. at 30 (emphasis added); see also id. at 36 (explaining that “a governmental

practice” can “guide [courts’] interpretation of an ambiguous constitutional provision”

if that practice “has been open, widespread, and unchallenged since the early days of

the Republic”). Importantly, a handful of “outlier[]” statutes or cases from a few

“outlier jurisdictions” do not make out a historical tradition. Id. at 65-66, 69-70. The

Supreme Court expressed “doubt,” for instance, that statutes from only three of the

original thirteen colonies would establish a relevant tradition. Id. at 46. And in evaluating

19th-century “surety laws,” which New York argued were precursors to its proper-

cause requirement, the Court discounted two of those ten laws – which were most

similar to New York’s – as unrepresentative. Id. at 55-56 n.24. Here, the relevant date




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for the historical analysis is December 15, 1791, when the Second Amendment was

ratified. At that time the United States as a nation consisted of the following states:




                     b.     The Government bears the burden of
                            demonstrating that a firearm regulation is
                            consistent with the Nation’s historical
                            tradition.

       Finally, Bruen emphasized that “the burden falls on [the Government] to show

that [a statute] is consistent with this Nation’s historical tradition of firearm regulation.”

Bruen, 597 U.S. at 24-25. Consistent with “the principle of party presentation,” courts

are “entitled to decide a case based on the historical record compiled by the parties.”

Id. at 25 n.6. As a consequence, courts “are not obliged to sift the historical materials

for evidence to sustain [a] statute. That is [the Government’s] burden.” Id. at 60. And

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insofar as there are “multiple plausible interpretations” of an ambiguous historical

record, courts must “favor the one that is more consistent with the Second

Amendment’s command.” Id. at 44 n.11. The tie goes to the Second Amendment

claimant. See also id. at 39-40 (concluding that where “history [is] ambiguous at best,” it

“is not sufficiently probative to defend [a statute]”).

              3.     Section 922(g)(4) fails Bruen ’s “text-and-history”
                     Second Amendment standard and has been
                     unconstitutionally applied to Gould.

       By dispensing with means-ends scrutiny, Bruen refined Heller to the point that all

modern federal firearm regulations are now subject to reexamination under the Second

Amendment, using Bruen’s plain text and history standard. Applying that standard, the

district court should have granted Gould’s motion to dismiss.

       Under Bruen’s framework, § 922(g)(4)’s “committed to a mental institution”

clause violates Gould’s Second Amendment right to keep and bear arms. The

amendment’s “plain text” protects the conduct of keeping and bearing arms. It does

not differentiate between who can or cannot keep and bear arms, including between

persons committed to mental institutions or not, and a total prohibition on firearm

possession for persons so previously committed presumptively violates the Second

Amendment. The Government cannot rebut that presumption. Mental institution

involuntary commitment disarmament did not appear until the 20th century; the

“Founders themselves could have adopted” involuntary commitment disarmament


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laws, but did not do so. Bruen, 591 U.S. at 27 (discussing Heller). Because there was no

“historical tradition,” as of 1791 or even before the Twentieth Century, of regulations

“relevantly similar” to § 922(g)(4), that statute violates the Second Amendment.

                    a.     The Second Amendment’s “plain text”
                           protects Gould’s possession of a firearm.

        Bruen directs courts to begin by asking whether “the Second Amendment’s plain

text covers an individual’s conduct.” Bruen, 597 U.S. at 17 (emphasis added). The

answer to that question is easy in Gould’s case. The Second Amendment’s operative

clause contains three textual elements: it protects the right of (1) “the people” to (2)

“keep and bear” (3) “Arms.” Gould satisfies all three elements with respect to his

possession of the 12-gauge shotgun seized from his home on February 18, 2022.

        “Arms” under the Second Amendment include all firearms that are not

dangerous and unusual, and which are in common use. Heller, 554 U.S. at 581. This

would include the shotgun seized from Gould’s home. See, e.g., Miller v. Bonta, 2023 WL

6929336 (S.D. Cal. 2023). Heller further defines “keep” as “to retain; not to lose,” “to

have in custody,” and “to hold; to retain in one’s power or possession” – in short, to

“have weapons.” Heller, 554 U.S. at 582. Here Gould possessed the shotgun in his

home.




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                    b.     The Second Amendment does not only
                           apply to “law-abiding, responsible
                           citizens,” and Gould is part of “the people”
                           entitled     to   Second        Amendment
                           protections.

      Contrary to the Government’s assertions below, Gould is still part of “the

people” protected by the Second Amendment. Just as that amendment does not “draw[]

a home/public distinction with respect to the right to keep and bear arms,” Bruen, 597

U.S. at 4, it does not draw a textual distinction between law-abiding and non-law-

abiding citizens, any more than it draws a distinction between previously committed

and any other American citizen. “Nothing in the Second Amendment’s text” suggests

those who have been temporarily involuntarily committed to a mental institution are

not entitled to the amendment’s protection. Ibid.

      Heller confirms this conclusion. Construing the words “the people,” the Supreme

Court said “the term unambiguously refers to all members of the political community,

not an unspecified subset.” Heller, 554 U.S. at 580. It interpreted “the people” to refer

to all “persons who are part of a national community or who have otherwise developed

sufficient connection with this country to be considered part of that community.” Ibid.

Thus the Second Amendment right “is exercised individually and belongs to all

Americans.” Id. at 581. Interpreting “the people” to exclude someone who has not been

adjudged a mental defective, but previously temporarily committed to a mental

institution would contradict Heller’s Second Amendment application to “all


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Americans.” In addition, Heller explained that “the people” is a “term of art” that bears

a uniform meaning across the First, Second, Fourth, and Ninth Amendments. Heller,

554 U.S. at 580. The result is that, if being previously temporarily committed somehow

deprives a citizen of his Second Amendment right to bear arms, it would also deprive

him of his First Amendment rights to speak about matters of public concern and

worship according to his faith, and his Fourth Amendment right to be free from

warrantless searches of his home. No court that has ever endorsed that proposition.

See, e.g., United States v. Meza-Rodriguez, 798 F.3d 664, 670-71 (7th Cir. 2015)(concluding

“the term ‘the people’ in the Second Amendment has the same meaning as it carries in

other parts of the Bill of Rights” and therefore should be interpreted “as consistent

with the other amendments passed as part of the Bill of Rights,” such as the First and

Fourth Amendments).

      Notwithstanding this straightforward interpretation of the Second Amendment’s

“plain text,” the Government has argued and is expected to continue to argue that “the

people” comprises only law-abiding, responsible people. This argument derives from

language in Heller related to determining the proper standard of review for Second

Amendment claims. In rejecting the “interest-balancing inquiry” proposed in Justice

Breyer’s dissent, the Heller majority explained that the Second Amendment “is the very

product of an interest balancing by the people.” Heller, 554 U.S. at 634-35. Judges

therefore lack authority to “conduct [that balancing] anew” or “decide on a case-by-


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case basis whether the right is really worth insisting upon.” Ibid. And regardless, the

Court wrote, “whatever else [the Second Amendment] leaves to future evaluation, it

surely elevates above all other interests the right of law-abiding, responsible citizens to

use arms in defense of hearth and home.” Id. at 635. This latter sentence, the

Government’s argument goes, limits the right to keep and bear arms to only “law-

abiding, responsible citizens.”

         This argument definitely misreads Heller. It was also just rejected by the Supreme

Court in United States v. Rahimi, 602 U.S. ___ (2024). 6 By beginning the quoted passage

with “whatever else it leaves to future evaluation,” the Supreme Court in Heller made

clear that its reference to “law-abiding, responsible citizens” established a Second

Amendment floor, not a ceiling. The Court held that law-abiding, responsible citizens

have a right to possess firearms, but it did not address, much less rule out, whether

other people have that right too. Rather, Heller expressly left that question “to future

evaluation.” Heller, 554 U.S. at 635. Heller’s “law-abiding” statement was not meant to

amend, sub silentio, its holding that “the people” are all members of the national

community, and “not an unspecified subset.” Id. at 580.

         Heller “conclusively established [that] the Second Amendment applies to law-

abiding and peaceable citizens at the very least.” Stimmel v. Sessions, 879 F.3d 198, 204-

05 (6th Cir. 2018)(emphasis added). Heller’s “law-abiding” language does not


6
    As discussed in subpart 5 below.

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“demarcate [the Second Amendment’s] outer limit” or “exclude[]” anyone from the

amendment’s coverage, it merely establishes that certain people do fall within the

amendment’s reach. Ibid.; see also Perez-Gallan, 640 F. Supp. 3d at 708 (explaining Heller

“defined ‘the people’ as ‘members of the political community,’ not ‘law-abiding,

responsible citizens’”). Heller’s qualifying language is clear, but to the extent it was

ambiguous, Bruen resolved any ambiguity. The passage cited above references law-

abiding, responsible citizens’ right to use arms “in defense of hearth and home.” If that

passage were meant to mark off the outer edges of the Second Amendment right, then

even law-abiding, responsible citizens would have no right to use firearms outside the

home. But Bruen held the Second Amendment right does extend outside the home, and

the Court in Bruen gave no hint it believed it was contradicting Heller in that regard.

Thus Bruen confirms that it would be a mistake to read Heller’s “law-abiding, responsible

citizens” language as a limitation on the Second Amendment.

      It is true that at several points, Bruen uses the term “law-abiding.” See, e.g., Bruen,

597 U.S. at 71 (“New York’s proper-cause requirement violates the [Second]

Amendment in that it prevents law-abiding citizens with ordinary self-defense needs

from exercising their right to keep and bear arms.”). But Bruen repeated the “law-

abiding” appellation because the petitioners in that case alleged, “[a]s set forth in the

pleadings below,” that they were “law-abiding, adult citizens,” and the Court granted

certiorari to decide only whether “New York’s denial of petitioners’ license applications


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violated the Constitution.” Id. at 17. No other questions were before the Court in Bruen,

and at no point did the Court say Second Amendment rights are limited to law-abiding

citizens.

       Bruen reaffirmed Heller’s holding that the Second Amendment right belongs to

“‘all Americans.’” Bruen, 587 U.S. at 7, quoting Heller, 554 U.S. at 581. That statement

cannot be reconciled with the Government’s view that Bruen limits the arms right to

only law-abiding citizens. Bruen also repeated Heller’s instruction that courts should give

“the Second Amendment’s language” its “‘normal and ordinary’ meaning.” Id. at 20,

quoting Heller, 554 U.S. at 576. There is nothing normal or ordinary about reading “the

people” to mean only “law-abiding people.” Bruen held “that ordinary, law-abiding

citizens have [the] right to carry handguns publicly for their self-defense.” Id. at 8. If the

word “law-abiding” in that sentence limits the Second Amendment’s scope, then the

word “ordinary” must do so, too. But surely the Government does not believe

unordinary citizens lack Second Amendment rights. It cannot be that the Supreme

Court meant to exclude anyone deemed abnormal – a term with no discernible meaning

– from exercising a fundamental, enumerated constitutional right. Limiting the Second

Amendment by negative implication is equally unjustified regarding “law-abiding.”

       The Third Circuit addressed the lack of impact of Bruen’s “law-abiding” language

on 18 U.S.C. § 922(g)(1) in Range v. Attorney General United States of America, 69 F.4th 96,

101-103 (3d Cir. 2023)(en banc). The court concluded that because the criminal histories


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of the plaintiffs in Heller, McDonald, and Bruen were not at issue in those cases, references

to “law-abiding, responsible citizens” were dicta. Id. at 101. The court noted that “the

phrase ‘law-abiding, responsible citizens’ is as expansive as it is vague” and that “the

Government’s claim that only ‘law-abiding, responsible citizens’ are protected by the

Second Amendment devolves authority to legislators to decide whom to exclude from

‘the people.’” Id. at 102. The court “reject[ed] that approach because such ‘extreme

deference gives legislatures unreviewable power to manipulate the Second Amendment

by choosing a label.’” Id. at 102-103. “In sum,” the court concluded, “we reject the

Government’s contention that only ‘law-abiding, responsible citizens’ are counted

among ‘the people’ protected by the Second Amendment.” Id. at 103. Therefore,

§ 922(g)(4) regulates and burdens protected Second Amendment conduct.

       Gould, who is an American citizen, is part of the United States’ “national

community.” Heller, 554 U.S. at 580. He remained part of the “national community,”

despite any purported regular drug use or his NFA conviction. Gould is therefore

among “the people” protected by the Second Amendment, and his conduct of

possessing a shotgun in his own home is protected by the Second Amendment’s text.

Bruen, 597 U.S. at 17-18.

       Other courts have held the same with respect to 18 U.S.C. § 922(g)(3). See, e.g.,

United States v. Daniels, 77 F.4th 337, 342-343 (5th Cir. 2023); United States v. Okello, 2023

WL 5515828, at *3 (D.S.D. 2023); United States v. Espinoza-Melgar, 2023 WL 5279654, at


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*3 (D. Utah 2023); United States v. Wuchter, 2023 WL 4999862, at *2 (N.D. Iowa 2023);

United States v. Springer, 2023 WL 4981583, at *2 (N.D. Iowa 2023); United States v. Alston,

2023 WL 4758734, at *6 (E.D.N.C. 2023); United States v. Lewis, 2023 WL 4604563 (S.D.

Ala. 2023); United States v. Connelly, 2023 WL 2806324 (W. D. Tex. 2023); United States v.

Harrison, 2023 WL 1771138, at *8-9 (W.D. Okla. 2023); United States v. Lewis, 2023 WL

187582, at *2 (W.D. Okla. 2023).

       As they have with respect to 18 U.S.C. § 922(g)(1). See, e.g., United States v. Prince,

2023 WL 7220127, at *4-5 (N.D. Ill. dec. Nov. 2, 2023); United States v. Jackson, 2023

WL 7160921, at *5-6 (N.D. Ill. 2023); United States v. Ford, 2023 WL 7131742 (S.D.N.Y.

2023); United States v. Brooks, 2023 WL 6880419 (E.D. Ky. 2023); United States v. Coleman,

2023 WL 6690935, at *5-6 (E.D. Va. 2023); United States v. Johnson, 2023 WL 6690388,

at *3 (N.D. Ill. 2023); United States v. Levasseur, 2023 WL 6623165, at *2-3 (D. Me. 2023);

United States v. White, 2023 WL 6066201, at *4 (S.D.N.Y. 2023); United States v. Johnson,

2023 WL 6049529, at *4-5 (W.D. Okla. 2023); United States v. Gates, 2023 WL 5748362

(N.D. Ill. 2023); United States v. Lane, 2023 WL 5614798, at *2 (D. Vt. 2023); United States

v. Nordvold, 2023 WL 5596623, at *4 (D.S.D. 2023); United States v. Quailes, 2023 WL

5401733 (M.D. Pa. 2023); United States v. Davila, 2023 WL 5361799, at *2 (S.D.N.Y.

2023); United States v. Holmes, 2023 WL 4494340 (E.D. Mich. 2023); United States v.

Bullock, 2023 WL 4232309, at *20, *29 (S.D. Miss. 2023); United States v. Hernandez, 2023

WL 4161203, at *3-4 (N.D. Tex. 2023); United States v. Ware, 2023 WL 3568606, at *5


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(S.D. Ill. 2023); United States v. Lowry, 2023 WL 3587309, at *3 (D.S.D. 2023); United

States v. Martin, 2023 WL 1767161, at *2 (D. Vt. 2023); United States v. Barber, 2023 WL

1073667, at *5-6 (E.D. Tex. 2023); United States v. Hester, No. 1:22-cr-20333-RNS, ECF

No. 39 (S.D. Fla. Jan. 27, 2023); Campiti v. Garland, 649 F. Supp. 3d 1 (D. Conn. 2023);

United States v. Goins, 647 F. Supp. 3d 538 (E.D. Ky. 2022); United States v. Pierre, No.

1:22-cr-20321-JEM, ECF No. 53 (S.D. Fla. Nov. 28, 2022); United States v. Williams,

2022 WL 18285005 (N.D. Ga. 2022); United States v. Price, 635 F. Supp. 3d 455, 460

(S.D. W. Va. 2022).

      And with respect to 18 U.S.C. §§ 922(g)(8) & (9). See, e.g., United States v. Lewis,

2023 WL 6066260, at *4 (S.D.N.Y. 2023); United States v. Springer, 2023 WL 4981583, at

*2 (N.D. Iowa 2023); United States v. Brown, 2023 WL 4826846, at *5-6 (D. Utah 2023);

United States v. Guthery, 2023 WL 2696824 (E.D. Cal. 2023); United States v. Silvers, 2023

WL 3232605 (W.D. Ky. 2023); United States v. Combs, 2023 WL 1466614, at *3 (E.D. Ky.

2023); United States v. Ryno, 2023 WL 3736420, at *12-14 (D. Alaska 2023); United States

v. Bernard, 2022 WL 17416681, at *7 (N.D. Iowa 2022); United States v. Jackson, 2022 WL

3582504, at *2 (W.D. Okla. 2022).

      And, finally, with respect to 18 U.S.C. § 922(n). See, e.g., United States v. Gore, 2023

WL 2141032, at *2 (S.D. Ohio 2023); United States v. Rowson, 2023 WL 431037, at *15-

19 (S.D.N.Y. 2023); United States v. Hicks, 2023 WL 164170 (W.D. Tex. 2023); United

States v. Reaves, No. 4:22-cr-224-HEA, ECF No. 55 at 16 (E.D. Mo. Jan. 9, 2023); United


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States v. Stambaugh, 641 F. Supp. 3d 1185, 1189-1190 (W.D. Okla. 2022); United States v.

Kays, 624 F. Supp. 3d 1262 (W.D. Okla. 2022).

       A growing number of courts recognize that the inquiry under Bruen’s first step is

a narrow one. They have held that citizens charged with a crime, even a crime based on

prior criminal conduct, easily fall within the ambit of the Second Amendment. Gould’s

conduct in this case, simple possession of a 12-gauge shotgun in his home after having

previously been temporarily involuntarily committed to a mental institution, falls within

the scope of the Second Amendment.

              4.     Rahimi rejected the United States’ argument that
                     the Second Amendment only applies to “law-
                     abiding, responsible citizens.”

       In United States v. Rahimi, 602 U.S. ___ (2024), the Supreme Court applied the

Bruen framework for analyzing Second Amendment challenges to a criminal law for the

first time. The Court held that 18 U.S.C. § 922(g)(8)(C)(i), which prohibits an individual

subject to a domestic violence restraining order from possessing a firearm if that order

includes a finding that the person represents a credible threat to the physical safety of

others, is constitutional.

       Rahimi is a narrow decision that embraces Bruen’s focus on text, history, and

tradition. First, the Supreme Court rejected the Government’s theory that the Second

Amendment allows Congress to disarm anyone who is not “responsible” and “law-

abiding.” Second, the Court conducted a historical analysis and concluded that surety


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laws and “going armed” laws established a tradition— temporarily disarming someone

found by a court to pose a credible threat to the physical safety of others—similar to

§ 922(g)(8). Rahimi endorses an incremental approach to Second Amendment

challenges driven by a detailed historical analysis applied to a specific law, not sweeping

generalities.

       Applying that analysis here, this Court should hold that the mental institution

commitment clause of 18 U.S.C. § 922(g)(4) is unconstitutional. As in Rahimi, the

Government’s argument that the Second Amendment protects only so-called “law-

abiding, responsible citizens” fails. And Rahimi’s historical analysis regarding civil surety

and criminal affray laws provides little guidance because § 922(g)(4) is very different

from § 922(g)(8). The latter law imposes a temporary restriction on gun possession only

after a court makes an individualized finding that a person poses a clear threat of

physical violence to another. By contrast, § 922(g)(4) merely requires a previous

involuntary commitment to a mental institution (even if temporary) to impose a

permanent and categorical ban without any similar finding, which persists well after any

temporary commitment order has expired and any directed mental health treatment or

court supervision has ended.

       Unlike in Rahimi, the Government has failed to identify any historical evidence

supporting such a far-reaching restriction with respect to citizens previously committed

to a mental institution. Thus, § 922(g)(4) violates the Second Amendment. Again, at the


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time Gould possessed the shotgun in his home, he was not suffering from any mental

disease or defect, he had not been adjudged a mental incompetent, and he was not

subject to a pending order committing him to a mental institution.

       In Rahimi, as here, the Government argued that the Second Amendment

“protects only law-abiding, responsible citizens.” Gov’t Br. at 12, United States v. Rahimi,

No. 22-915 (U.S. Aug. 14, 2023). In doing so, the Government cited several references

to “law-abiding, responsible citizens” from Heller and Bruen, claiming that the Supreme

Court’s “precedents recognize that Congress may disarm persons who are not law-

abiding, responsible citizens.” Id. at 11.

       The Supreme Court easily rejected that argument.7 Rahimi, 602 U.S. ___, *17; see

id. at *27 (Thomas, J., dissenting) (“The Government . . . argues that the Second

Amendment allows Congress to disarm anyone who is not ‘responsible’ and ‘law-

abiding.’ Not a single Member of the Court adopts the Government’s theory.”). First,

the Court stated that “responsible” is a “vague term” and it is “unclear what such a rule

would entail.” Id. at *17 (majority opinion). Second, the Court explained that the




7 At oral argument, the Government said that it was not invoking the “law-abiding”
prong of its proposed rule for individuals subject to § 922(g)(8). See Tr. of Oral Arg. 8-
9, United States v. Rahimi, No. 22-915 (U.S. Nov. 7, 2023). So the majority opinion
discussed only the “responsible” prong. Rahimi, 602 U.S. ___, *17. In his dissenting
opinion, Justice Thomas—who agreed with the majority in rejecting the Government’s
theory—provided a more robust analysis discussing both prongs. Id. at *27–31
(Thomas, J., dissenting).


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Government’s proposed rule did not “derive from [the Court’s] case law.” Ibid. It noted

that Heller and Bruen used the term “responsible” to “describe the class of ordinary

citizens who undoubtedly enjoy the right,” but neither decision adopted that

formulation to define the limits of the Second Amendment. Ibid.; see also id. at *7

(Thomas, J., dissenting)(“The Government’s claim that the Court already held the

Second Amendment protects only ‘law-abiding, responsible citizens’ is specious at

best.”).

       The Government argued before the district court (and is expected to again argue

here) that the Second Amendment “cover[s] only law-abiding, responsible citizens.” As

in Rahimi, that argument fails. Rahimi already rejected the “responsible” prong. Rahimi,

602 U.S. ___, *17. And the “law-abiding” prong fares no better. Like “responsible,”

“law-abiding” is vague. The Supreme Court cast no doubt on the Fifth Circuit’s

observation that “‘law-abiding’ admits to no true limiting principle.” United States v.

Rahimi, 61 F.4th 443, 453 (5th Cir. 2023), rev’d on other grounds, 602 U.S.___ (2024). And

if the “responsible” prong of the Government’s proposed “law-abiding, responsible

citizen” test does not limit the Second Amendment’s text, then neither does the “law-

abiding” prong. Rahimi echoes the Fifth Circuit’s caution against “read[ing] too much

into the Supreme Court’s chosen [‘law-abiding, responsible citizen’] epithet.” See United

States v. Daniels, 77 F.4th 337, 342 (5th Cir. 2023).




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       The Government also asserted before the district court that the Second

Amendment permits Congress to disarm anyone it deems “dangerous.” As with other

fictional distinctions, the Second Amendment’s text simply does not distinguish

between “dangerous” and “non-dangerous” citizens (wherever they are supposed to be,

and by whatever standard they are supposed to be measured). But besides being

insidiously overgeneralized to the point of rendering the Second Amendment

effectively meaningless, this argument just repackages the Government’s “responsible

citizen” theory. The Government confirmed at oral argument in Rahimi that it uses the

terms “not responsible” and “dangerous” interchangeably. Tr. of Oral Arg. 10–12,

Rahimi, supra (No. 22-915). So by rejecting the Government’s “responsible” theory, the

Supreme Court also rejected its “dangerous” theory. Indeed, “dangerous” is just as

“vague” as “responsible.” See Rahimi, 602 U.S. ___, *17; see also Range, 69 F.4th 96 at

102-103 (3d Cir. 2023), Bullock, 679 F. Supp. 3d at 535 (calling “law-abiding, responsible

citizens” “hopelessly vague”). In addition, interpreting historical principles “at such a

high level of generality . . . waters down the right,” id. at *4 (Barrett, J., concurring), by

leaving the scope of the Second Amendment to “Congress’s policy choice,” Id. at 29–

31 (Thomas, J., dissenting). Unfortunately, this is the very real risk emerging from jurists

avoiding the straight forward application of Bruen, where they force the purpose of

every historical analogue into the square hole of protecting public safety and disarming

“dangerous” citizens. Whoever has the power to label a category of citizens


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“dangerous,” has the power to strip them of their Second Amendment protections.

Bruen, 597 U.S. at 35-37, 30-31 (historical restrictions on firearms in “sensitive places”

do not empower legislatures to designate any place “sensitive” and then ban firearms

there). Accord Neal, 2024 WL 933607, *7-9 (N.D. Ill. 2024).

       In short, the “law-abiding, responsible citizen” theory unanimously rejected by

the Supreme Court in Rahimi “is the Government’s own creation, designed to justify

every one of its existing regulations.” Rahimi, 602 U.S. ___ at *28 (Thomas, J.,

dissenting). “It has no doctrinal or constitutional mooring.” Ibid. To the contrary,

Rahimi confirms that the Supreme Court meant what it said when it declared that the

Second Amendment right to keep and bear arms is not a second-class right, see

McDonald, 561 U.S. at 780; Bruen 597 U.S. at 70, which “belongs to all Americans.”

Heller, 554 U.S. at 581.

              5.     The Government failed to show that § 922(g)(4)
                     is consistent with the United States’ “historical
                     tradition of firearm regulation.”

       To rebut Bruen’s presumption of unconstitutionality, the Government had to

establish that § 922(g)(4) “is consistent with this Nation’s historical tradition of firearm

regulation.” Bruen, 597 U.S. at 17. The Government did not carry this burden before

the district court, nor can it do so here.

       What is today § 922(g)(4) traces its origins to 1968, when Congress passed Title

I of the Omnibus Crime Control and Safe Streets Act of 1968 (the “Gun Control Act”),


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and added § 922 to 18 U.S.C. ch. 44. Pub. L. No. 90-618, Oct. 22, 1968, 82 Stat. 1213,

1217, 1200-1221. Later in 1986, Congress added firearm or ammunition possession to

the list of unlawful acts prohibited by 18 U.S.C. § 922(g). Pub. L. No. 99-308, May 19,

1986, 100 Stat. 449, 451-452 (the “Firearm Owners Protection Act”).

       The Supreme Court in Bruen said it would not even “address any of the 20th-

century historical evidence brought to bear by respondents or their amici,” since

evidence of that type “does not provide insight into the meaning of the Second

Amendment when it contradicts earlier evidence.” Bruen, 597 U.S. at 66 n.28.

Regulations of such recent vintage cannot establish a historical tradition unless they

“confirm[]” earlier practice. Id. at 36-37. Here, they simply do not. Section 922(g)(4)

“bears little resemblance to laws in effect at the time the Second Amendment was

ratified.” National Rifle Ass’s of America, Inc. v. Bureau of Alcohol, Tobacco, Firearms, and

Explosives, 700 F.3d 185, 196 (5th Cir. 2012).

       In 2007, Robert H. Churchill, a history professor at the University of Hartford,

undertook “a full survey of printed session laws pertaining to gun regulation in the

thirteen colonies and Vermont between 1607 and 1815.” Robert H. Churchill, Gun

Regulation, the Police Power, and the Right to Keep Arms in Early America, 25 Law & Hist. Rev.

139, 143 n.11 (2007). Based on that survey, Churchill concluded that “at no time

between 1607 and 1815 did the colonial or state governments of what would become




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the first fourteen states exercise a police power to restrict the ownership of guns by

members of the body politic.” Id. at 142.

       Carlton Larson, a professor at the University of California-Davis School of Law,

has separately written in the context of disarming “lunatics” that “one searches in vain

through eighteenth-century records to find any laws specifically excluding the mentally

ill from firearms ownership.” Carlton F.W. Larson, Four Exceptions in Search of a Theory:

District of Columbia v. Heller and Jud. Ipse Dixit, 60 Hastings L.J. 1371, 1376 (2009); accord

Tyler v. Hillsdale Ct. Sheriff’s Dept., 837 F.3d 678, 689 (6th Cir. 2016); see also United States

v. Skoien, 614 F.3d 638, 646-651 (7th Cir. 2010)(in the context of convicted felons and

domestic violence misdemeanants – “the historical evidence is inconclusive at

best”)(Sykes J., dissenting)(citing additional scholarly works).

       That the Founding generation would have been reluctant, if not unwilling, to

embrace permanent citizen disarmament as a mechanism for societal problem solving,

in any context, is not surprising given the historical circumstances in which the

Constitution and the Second Amendment were ratified. British General Thomas Gage’s

unprecedented deception during the siege of Boston between April 19, 1775, and March

17, 1776, was still very much “top of mind” with the founding generation when our

Constitution was ratified in 1791. Recall that shortly after the Battle of Lexington and

Concord, Gage extended the offer to Boston colonists to disarm themselves under the

promise of being allowed to leave the city. In response, Boston residents surrendered


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thousands of firearms and related weapons: 1778 muskets, 634 pistols, 973 bayonets,

and 38 blunderbusses. The number of firearms seized by one account was one for every

5.6 inhabitants of a town with a population of 15,000. Having disarmed the local

populace, within five days Gage reneged on his promise to allow any exit from Boston,

and kept the entire city captive for eleven months. Nothing like that had ever happened

in the American Colonies before, nor has it happened since. See Stephen P. Halbrook,

When the Redcoats Confiscated Guns, Washington Post (May 31, 1995);8 Stephen P.

Halbrook, That Every Man Be Armed at 59 (University of New Mexico Press 1984);

Stephen P. Halbrook, The Founders’ Second Amendment at 2-3, 75-108 (Ivan R. Dee

Publishers 2008).

      As noted in Mr. Halbrook’s treatise:

      Americans were reminded of Gage’s confiscation of arms some fourteen
      years later, when adoption of the Bill of Rights was pending. In 1789, Dr.
      David Ramsay published his History of the American Revolution. A
      prominent federalist, Ramsay wrote this work while he was a member of
      the Continental Congress in the 1780s. He also served as a delegate to
      the South Carolina convention that ratified the Constitution in 1788.
      James Madison, who served with Ramsay in the Continental Congress,
      was aware of the book. Ramsay’s account of grievances leading to the
      Revolution was apropos, particularly in regard to what became the
      Second Amendment.

The Founders’ Second Amendment, at 85-86 (footnotes omitted).


8
 Available online at
https://www.washingtonpost.com/archive/opinions/1995/05/31/when-the-
redcoats-confiscated-guns/e38d0810-af85-4949-8d93-3da746601e65/ (last viewed
December 5, 2022)

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      There was no well-established and representative “historical tradition” of gun

regulations “relevantly similar” to § 922(g)(4)’s mental institution commitment clause

at the time of the Founding. Bruen, 597 U.S. at 24-26 There were no laws widely

prescribed disarming persons previously involuntarily committed to a mental institution

at all, much less regulations imposing the same “why” and “how” as Section 922(g)(4).

The “Founders themselves could have adopted” laws like § 922(g)(4) to “confront” the

“perceived societal problem” posed by the mentally ill’s access to guns. Id. at 27. They

declined to do so, and that inaction strongly indicates Section 922(g)(4)’s “committed

to a mental institution” clause “[i]s unconstitutional.”

      C.     How the District Court erred denying Gould’s motion.

      The district court made several erroneous decisions leading up to the denial of

defendant’s motion. First, that court equated Gould with John Hinckley, Jr. JA120. This

was hardly an effective comparison because Hinckley (1) had previously actually been

adjudged to be a mental incompetent; (2) been found not guilty for trying to assassinate

President Reagan in 1981 by reason of insanity; and (3) had been committed to a mental

institution and remained under mental health supervision until June 2022. Id. Unlike

Hinckley, Gould had only previously been involuntarily committed to a mental

institution for evaluation, never adjudged a mental defective, never adjudged not guilty

in a criminal proceeding by reason of insanity, and – out of the three of four involuntary

commitments attempted – had been only briefly committed, observed and released


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three times without further court or medical supervision. Whereas Hinckley’s firearm

disability arose out the operation of both clauses under 922(g)(4) (using the ATF’s

definitions), Gould’s only arose under one – the commitment to a mental institution

clause.

          The two clauses within Section 922(g)(4) are definitely not the same because a

citizen can be adjudged a mental defective without being committed to a mental

institution, while commitment to a mental institution does not necessarily involve or

require a citizen be adjudged as a mental defective. See 27 C.F.R. § 478.11. Ironically

under the ATF’s definition of “committed to a mental institution,” mentally ill

individuals admitted just for observation or who voluntarily enter such a facility are not

permanently disarmed by § 922(g)(4)’s mental institution commitment clause. This is

despite Heller’s presumptively lawful dicta, and even if such individuals have a more

serious or arguably dangerous mental illness than those citizens who are involuntarily

committed. So finding § 922(g)(4)’s mental institution commitment clause

unconstitutional under Bruen does not necessarily dictate that § 922(g)(4)’s “adjudged a

mental incompetent” clause also violates the Second Amendment. That issue is not

before this Court.

          The district court further erred by not finding that Bruen’s Second Amendment

standard displaced Heller’s presumptively lawful dicta, and that Gould was still one of

the people entitled to Second Amendment protections under Bruen’s step one. JA121-


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131. Instead, the district court continued the pre-Bruen intermediate scrutiny practice of

assuming without deciding that Second Amendment protections applied to Gould’s

conduct. JA131; see also United States v. Carter, 669 F.3d 411, 416 (4th Cir. 2012)(citing

cases following the same practice); Nutter, 624 F. Supp. 3d at 639 n.5.

       Turning to Bruen’s step two, the district court declined to decide the precise

historical standard to apply. JA135. The district court then correctly observed that the

United States did not rebut Gould’s assertions that a formal regulation disarming the

mentally ill did not exist when the Second Amendment was ratified. JA140; see also

Carlton Larson, Four Exceptions in Search of a Theory: District of Columbia v. Heller and Judicial

Ipse Dixit, 60 Hastings L.J. 1371, 1376-1377 (2009). Despite this acknowledgement, in

analyzing the “why” and “how” of Section 922(g)(4), the district court still found that

there was a historical tradition establishing its constitutionality. JA140-143. Specifically,

the district court accepted the United States’ reliance upon the 1689 English

Declarations of Rights, and the Minority dissent of the State of Pennsylvania. Ibid. The

district court then separately placed great emphasis on authorities cited by Nutter as

detailing an “historical tradition for prohibiting individuals deemed ‘dangerous’ from

possessing guns “in the interest of public safety.” Ibid. Nutter, in turn, had relied on civil

surety laws; pre-Colonial laws requiring gun registration; required citizen attendance at

militia trainings; fire codes regulating firearm and gun powder storage; and purported

gun bans for slaves, free blacks, Native Americans, Catholics, and citizens refusing to


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sign loyalty oaths to find a well-established and representative historical tradition of

firearm regulation to sustain the constitutionality of 18 U.S.C. § 922(g)(9). Nutter, 624

F. Supp. 3d at 641-643. The district court then erroneously treated that broad basket of

historical regulation as one allowing persons deemed a potential danger to themselves

or others to be disarmed by Section 922(g)(4)’s mental institution commitment clause.

JA140-143.

       The district court’s cited historical analogues – neither separately nor collectively

– save § 922(g)(4) from being presumptively unconstitutional. While the absence of any

directly relevant analogue may not have been dispositive, it should have constituted very

strong evidence in the Bruen step two analysis. Bruen, 597 U.S. at 26-27. Separately, the

English Bill of Rights did not disarm anyone, and its text guaranteed Protestants rights

to arms “suitable to their Conditions and as allowed by Law.” While that original

guarantee only applied to the Crown and not Parliament in 1689, it was not a limit

similarly adopted by the Second Amendment in this country a century later. Bruen itself

observed that by the time the Second Amendment was ratified, the individual right it

protected had “matured” and “was understood to be an individual right protecting

against both public and private violence.” Id. at 44-45; see also United States v. Williams,

2024 WL 731932, *16 (E.D. Mich. Feb. 22, 2024).

       The minority positions from state constitutional conventions referencing the

categorical disarming of certain citizens likewise cannot serve as a supportive historical


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tradition, because such proposals were rejected and never enacted, and because none

of the “peaceable,” “virtuous,” or “law-abiding, responsible citizen” language made its

way into the Second Amendment. And the fact such limitations were debated in only

three of thirteen state convictions, and – again – rejected, in no way establishes any

well-established and representative tradition of anything. See United States v. Duarte, 101

F.4th 657, 677-679 (2024), United States v. Neal, 2024 WL 933607, *10-11 (N.D. Ill. Feb.

7, 2024); United States v. Ware, 673 F. Supp. 3d 947, 956-957 (S.D. Ill. 2023); United States

v. Bullock, 679 F. Supp. 3d 501, 526-528 (S.D. Miss. 2023), citing United States v. Rahimi,

61 F.4th 443, 457 (5th Cir. 2023), rev’d on other grounds, 602 U.S. ____ (2024); Williams,

2024 WL 731932, *18.

       Surety laws fair no better, as civil surety laws did not disarm anyone, even

temporarily. Gun registration statutes only existed in the colonies before the

Revolutionary War, not after 1791. That citizens were required to attend militia

trainings, where they were also required to furnish their own firearms – bears no similar

“why” or “how” to § 922(g)(4)’s permanent disarmament of citizens involuntarily

committed to mental institutions. It is the same with colonial and post-founding laws

regulating the storage of guns and gun powder. Magazine, powder certification, and

even barrel proofing statutes were essentially founding era consumer protection laws

adopted to minimize injury from defective arms or powder exploding during storage or

use. They were hardly confiscations or permanent disarmaments, and the penalties for


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violating most provisions involved a fine or forfeiture of the offending gun or barrel of

powder, not permanent denial of the right to possess or use other conforming firearms

and powder, or imprisonment if a citizen was later caught possessing a gun.

       Racially-based or religiously-based firearm regulations for slaves, free blacks,

Native Americans, Catholics, and citizens refusing to sign loyalty oaths provide no

better support for the constitutionality of § 922(g)(4)’s mental institution commitment

clause, much less demonstrate a consistent well-established and representative historical

tradition of firearm regulation. Neither slaves nor Indians were understood to be part

of the political community of persons protected by the Second Amendment in 1791.

Slaves were not made a part of the political community until after the American Civil

War. The Fourteenth Amendment’s Citizenship Clause, which granted citizenship to

newly freed slaves, was initially interpreted not to apply to all Indians. It took until 1924

with enactment of the Indian Citizenship Act to grant all non-citizen Indians born in

the United States citizenship. See Duarte, 101 F.4th at 685-688; Range, 69 F.4th at 104-

105; United States v. Harrison, 654 F. Supp. 3d 1191, 1216-1217 (W.D. Okla. 2023) (citing

authorities); Ware, 573 F. Supp. 3d at 958; Bullock, 679 F. Supp. 3d at 514-515

(discussing now Justice Barrett’s examination of the same in Kanter v. Burr, 919 F.3d

437, 440 (7th Cir. 2019)).

       Disarmaments of Catholics and loyalists also involved “wholesale deprivation”

of other civil liberties as well. While the “how” with such regulations was arguably the


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same or even greater than with slaves, Native Americans, and today persons committed

to mental institutions (i.e. at least total, permanent disarmament), the respective “why”s

were in in no way comparable to the modern statute, even if inflated to the over

generalized-purpose of disarming “dangerous” people.

      Catholic and loyalist disarmaments were justified based on the exercise of what

would today be First Amendment protected conduct and a legislature’s decision that

because of such conduct they were “untrustworthy” out of fear that the groups were

likely to wage active war against the colonies or interfere with colonial war efforts. Such

laws disarmed individuals based on their unchangeable characteristics or religious

affiliations rather than their actions (which would be necessary to have any chance of

rationally being “dangerous” to others). Just as importantly, only two colonies – Virginia

in 1756 and Pennsylvania in 1759 – ever definitely disarmed Catholics. To the extent

the debate lands on the side of Maryland also doing so, three out of thirteen colonies

in no way constitutes a well-established and representative tradition of firearm

regulation capable of supporting any modern firearm regulation. See, e.g., Duarte, 101

F.4th at 680-695; Harrison, 654 F. Supp. 3d at 1219-1220; Ware, 573 F. Supp. 3d at 958;

United States v. Alston, 2023 WL 7003235, *5 (E.D.N.C. Oct. 24, 2023).

      But see Williams, 2024 WL 731932, *17-18, 19-21, alternately finding that while

laws disarming Catholics, free blacks, slaves, and Native Americans all shared the same

“why” as Section 922(g)(1), they did not share any comparable burden with the


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permanent disarmament of convicted felons. This was because such pre-founding

measures did not result in total disarmaments of the affected categorical groups.9

According to one court’s historical deep dive, Catholics were still allowed to possess

firearms for self-defense and upon renouncing their faith (or, like loyalists, upon signing

a loyalty oath) could have all of their gun rights restored; slaves could possess firearms

with permission of their masters; and Native Americans were apparently just prohibited

from buying firearms – not possessing them (where they were still considered citizens

of hostile sovereign nations). Williams, 2024 WL 731932, *19-20. So either way –

whether differing in their “why” or “how” or both – pre-founding laws relied upon by

the district court which would be unconstitutional today do not constitute a

representative any viable historical tradition sustaining § 922(g)(4)’s mental institution

commitment clause.

                                    CONCLUSION

      It has been 248 years since America declared its independence from Britain, and

236 years since our Constitution was ratified. The Second Amendment was ratified 233

years ago, yet the individual right of self-defense it protects was not recognized by our

Supreme Court until 2008. Over the 74 years between the National Firearms Act and

Heller, Twentieth Century legislatures and courts imposed a plethora of firearm



9
 Contrary to what the court in Nutter assumed when quoting Adam Winkler’s 2009 law
review article. Nutter, 624 F. Supp. 3d at 643.

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restrictions that are now very familiar to modern jurists – believing the Second

Amendment only prohibited federal restrictions on firearms related to militia service. It

took 219 years for individual rights Second Amendment protections to be applied to

the states, and only two years ago did the Supreme Court reject means-ends scrutiny as

a mechanism for determining the scope of that amendment.

      Prior temporary and involuntary commitment to a mental institution does not

fairly equate to permanent debilitating mental illness or “lunacy” as the terms are

mentioned in Heller’s dicta. Such also do not make an individual citizen inherently

dangerous to the degree they should be categorically permanently disarmed. There is

no evidence Gould was suffering from any mental disease or defect on February 18,

2022, and he was not subject to a pending order committing him to a mental institution.

Despite his past temporary involuntary commitments (which were all over two and half

years old), Gould was still subject to Second Amendment protections, as was his

conduct of possessing a 12-guage shotgun in his home. Where § 922(g)(4)’s mental

institution commitment clause is not supported by a well-established and representative

tradition of firearm regulation (by relevant principles or otherwise), it violates the

Second Amendment. This Court, therefore, should vacate Gould’s conviction and

dismiss his indictment with prejudice or, alternately, reverse and remand with

instructions for the district court to do the same.




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                      REQUEST FOR ORAL ARGUMENT

      This case presents the important question of whether the Second Amendment

can tolerate permanent disarmament of citizens previously committed to a mental

institution by 18 U.S.C. § 922(g)(4)’s involuntary commitment clause. The Court’s

answer to this question will affect the fundamental rights of countless uncharged

citizens with mental health histories in the Fourth Circuit, as well as the growing cohort

of defendants prosecuted under Section 922(g)(4). Gould believes oral argument will

certainly assist the Court in resolving this very important question.

                                                Respectfully submitted,

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Dated: July 8, 2024




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